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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 SINGULAR COMPUTING LLC,                           Civil Action No. 1:19-cv-12551-FDS

         Plaintiff,

 v.

 GOOGLE LLC,

         Defendant.

                 DECLARATION OF KEVIN GANNON IN SUPPORT OF
             PLAINTIFF’S MOTION TO MODIFY THE SCHEDULING ORDER


        I, Kevin Gannon, hereby declare as follows:

1.      I am an attorney with the law firm Prince Lobel Tye LLP, attorneys for the plaintiff in

this action, Singular Computing LLC (“Singular”). I submit this declaration in support of

Singular’s Motion to Modify the Scheduling Order.

2.      Attached as Exhibit A is a true and correct copy of Plaintiff’s Notice of Deposition of

Johnny Chen.

3.      Attached as Exhibit B is a true and correct copy of Defendant Google LLC’s Objections

to Plaintiff’s Notice of Deposition of Johnny Chen.

4.      Attached as Exhibit C is a true and correct copy of an email dated June 23, 2021.

5.      Attached as Exhibit D is a true and correct copy of all status requests for attempts to

serve Mr. Johnny Chen.

6.      Attached as Exhibit E is a true and correct copy of the Declaration of Richard Goodin.

7.      Attached as Exhibit F is a true and correct copy of an email dated July 22, 2021.

8.      Attached as Exhibit G is a true and correct copy of Plaintiff’s Notice of Subpoena to

Testify at a Deposition of Richard M. Goodin.



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        Executed under the pains and penalties of perjury of the United States at Boston,

Massachusetts on July 23, 2021.



                                             /s/ Kevin Gannon




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